             Case 1:21-cr-00287-TNM Document 16 Filed 03/22/21 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
        v.                                      :       Criminal No. 21-0046-1 (RMM)
                                                :
KEVIN SEEFRIED,                                 :
HUNTER SEEFRIED                                 :
                                                :
                        Defendants.             :

                                               ORDER

        Based upon the representations in the United States’ Unopposed Motion to Continue and

to Exclude Time Under the Speedy Trial Act, and upon consideration of the entire record, the

Court makes the following findings:

        Defendant is charged via Complaint with offenses related to crimes that occurred at the

United States Capitol on January 6, 2021.      In brief, on that date, as a Joint Session of the United

States House of Representatives and the United States Senate convened to certify the vote of the

Electoral College of the 2020 U.S. Presidential Election, members of a large crowd that had

gathered outside forced entry into the U.S. Capitol, including by breaking windows and by

assaulting members of law enforcement, as others in the crowd encouraged and assisted those acts.

Scores of individuals entered the U.S. Capitol without authority to be there. As a result, the Joint

Session and the entire official proceeding of the Congress was halted until the Capitol Police, the

Metropolitan Police Department, and other law enforcement agencies from the city and

surrounding region were able to clear the Capitol of hundreds of unlawful occupants and ensure

the safety of elected officials.   This event in its entirety is hereinafter referred to as the “Capitol

Attack.”
         Case 1:21-cr-00287-TNM Document 16 Filed 03/22/21 Page 2 of 5




       The investigation and prosecution of the Capitol Attack will likely be one of the largest in

American history, both in terms of the number of defendants prosecuted and the nature and

volume of the evidence. Over 300 individuals have been charged in connection with the Capitol

Attack. The investigation continues and the government expects that at least one hundred

additional individuals will be charged. While most of the cases have been brought against

individual defendants, the government is also investigating conspiratorial activity that occurred

prior to and on January 6, 2021.    The spectrum of crimes charged and under investigation in

connection with the Capitol Attack includes (but is not limited to) trespass, engaging in

disruptive or violent conduct in the Capitol or on Capitol grounds, destruction of

government property, theft of government property, assaults on federal and local police

officers, firearms offenses, civil disorder, obstruction of an official proceeding, possession and

use of destructive devices, and conspiracy.

       Defendants charged and under investigation come from throughout the United States, and

a combined total of over 900 search warrants have been executed in almost all fifty states and the

District of Columbia. Multiple law enforcement agencies were involved in the response to the

Capitol Attack, which included officers and agents from U.S. Capitol Police, the District

of Columbia Metropolitan Police Department, the Federal Bureau of Investigation, the

Department of Homeland Security, the Bureau of Alcohol, Tobacco, Firearms and

Explosives, the United States Secret Service, the United States Park Police, the Virginia

State Police, the Arlington County Police Department, the Prince William County Police

Department, the Maryland State Police, the Montgomery County Police Department, the

Prince George’s County Police Department, and the New Jersey State Police. Documents

and evidence accumulated in the Capitol Attack investigation thus far include: (a) more than

15,000 hours of surveillance and body-


                                                2
            Case 1:21-cr-00287-TNM Document 16 Filed 03/22/21 Page 3 of 5




worn camera footage from multiple law enforcement agencies; (b) approximately 1,600

electronic devices; (c) the results of hundreds of searches of electronic communication

providers; (d) over 210,000 tips, of which a substantial portion include video, photo and social

media; and (e) over 80,000 reports and 93,000 attachments related to law enforcement

interviews of suspects and witnesses and other investigative steps.            As the Capitol Attack

investigation is still on-going, the number of defendants charged and the volume of potentially

discoverable materials will only continue to grow.       In short, even in cases involving a single

defendant, the volume of discoverable materials is likely to be significant.

       The government is developing a comprehensive plan for handling, tracking, processing,

reviewing and producing discovery across the Capitol Attack cases. Under the plan, the

discovery most directly and immediately related to pending charges in cases involving detained

defendants will be provided within the next thirty to sixty days. Cases that do not involve

detained defendants will follow thereafter. Such productions will also be supplemented on an

on-going basis. In the longer term, the plan will include a system for storing, organizing,

searching, producing and/or making available voluminous materials such as those described above

in a manner that is workable for both the government and hundreds of defendants. This latter

portion of the plan will require more time to develop and implement.

       In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv). As described above,

the Capitol Attack is likely the most complex investigation ever prosecuted by the Department

of Justice.    Developing a system for storing and searching, producing and/or making

available voluminous materials accumulated across hundreds of investigations, and ensuring

that such


                                                 3
         Case 1:21-cr-00287-TNM Document 16 Filed 03/22/21 Page 4 of 5




system will be workable for both the government and defense, will take time. Even after a system

is designed and implemented, likely through the use of outside vendors, it will take time to load,

process, search and review discovery materials. Further adding to production and review times,

certain sensitive materials may require redaction or restrictions on dissemination, and

other materials may need to be filtered for potentially privileged information before they can be

reviewed by the prosecution.

       In sum, due to the number of individuals currently charged across the Capitol

Attack investigation and the nature of those charges, the on-going investigation of many other

individuals, the volume and nature of potentially discovery materials, and the reasonable time

necessary for effective preparation by all parties taking into account the exercise of due

diligence, the failure to grant such a continuance in this proceeding would be likely to

make a continuation of this proceeding impossible, or result in a miscarriage of justice.

Accordingly, the ends of justice served by granting a request for a continuance outweigh the

best interest of the public and the defendant in a speedy trial.

       Therefore, it is this 22nd    day of March, 2021,

ORDERED that the United States’ Unopposed Motion to Continue and to Exclude Time Under

the Speedy Trial Act, is hereby GRANTED; it is further

       ORDERED that this proceeding is continued to          May 24        , 2021, at 1:00 P.M.

       ; and it is further

       ORDERED that the time period from the date of this Order through and including the date

of the next hearing is hereby excluded from the computation of time within which an indictment

must be filed under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.


                                                 4
Case 1:21-cr-00287-TNM Document 16 Filed 03/22/21 Page 5 of 5

                                                2021.03.22
                                                12:38:24 -04'00'
                           _________________________________________
                           THE HONORABLE ZIA M. FARUQUI
                           UNITED STATES MAGISTRATE JUDGE




                              5
